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                              UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF CALIFORNIA
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                                  SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV-07-5944-SC
14   ANTITRUST LITIGATION
                                               MDL No. 1917
15
                                               [PROPOSED] ORDER RE: INDIRECT-
16                                             PURCHASER PLAINTIFFS’
                                               ADMINISTRATIVE MOTION TO SEAL
17                                             DOCUMENT PURSUANT TO CIVIL
                                               LOCAL RULES 7-11 AND 79-5(d)_______
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           GOOD CAUSE APPEARING THEREFOR, Indirect-Purchaser Plaintiffs’ Administrative
21
     Motion To Seal Document Pursuant to Civil Local Rules 7-11 and 79-5(d) is hereby GRANTED.
22

23   IT IS SO RECOMMENDED.
24

25   Dated: _________________, 2012
                                              Hon. Charles A. Legge
26                                            SPECIAL MASTER

27
28

     [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                                        DOCUMENT
                         — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
      Case 4:07-cv-05944-JST Document 1471-2 Filed 11/30/12 Page 2 of 2



 1   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.

 2
     Dated: _________________, 2012
 3                                         Hon. Samuel A. Conti
                                           UNITED STATES DISTRICT JUDGE
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     3241108v1
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      [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                                         DOCUMENT
                          — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
